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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE

 8   UNITED STATES OF AMERICA,                            NO. MJ16-540
 9
                                   Plaintiff,
10
            v.
11                                                        DETENTION ORDER
     LEONARDO CUETO-RUIZ,
12
                                   Defendant.
13

14
     Offenses charged:
15
            Possession of Controlled Substances With Intent to Distribute, in violation of 21 U.S.C.
16          §§ 841(a)(1), 841(b)(1)(A), and 18 U.S.C. §2.
17
     Date of Detention Hearing: December 22, 2016
18
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
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     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
20
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
21
            1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
22
                    defendant is a flight risk and a danger to the community based on the nature of
23
                    the pending charges. Application of the presumption is appropriate in this case.
24
            2.      Defendant is a citizen of Mexico.
25
            3.      An ICE detainer has been filed against the defendant.
26

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 1         4.    In light of the ICE detainer, the defendant has stipulated to detention, reserving

 2               the right to reopen the proceedings if further events so warrant.

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 4         IT IS THEREFORE ORDERED:
 5         (1)   Defendant shall be detained and shall be committed to the custody of the
 6               Attorney General for confinement in a correction facility separate, to the extent
 7               practicable, from persons awaiting or serving sentences or being held in custody
 8               pending appeal;
 9         (2)   Defendant shall be afforded reasonable opportunity for private consultation with
10               counsel;
11         (3)   On order of a court of the United States or on request of an attorney for the
12               government, the person in charge of the corrections facility in which defendant
13               is confined shall deliver the defendant to a United States Marshal for the
14               purpose of an appearance in connection with a court proceeding; and
15         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
16               counsel for the defendant, to the United States Marshal, and to the United States
17               Pretrial Services Officer.
18         DATED this 22st day of December, 2016.
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                                                A
                                                JAMES P. DONOHUE
21                                              United States Magistrate Judge

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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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